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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY )
AVERAGE WHOLESALE PRICE LITIGATION )} MDLNo. 1456

)

THIS DOCUMENT RELATES TO ) Civil Action No. 01-CV-12257 PBS

-CV-12257- 01-CV-33 i
01-CV-12257-PBS AND 01-C 9 ) Judge Patti B. Saris

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Judgment
IT IS ADJUDGED AND DECREED THAT:

Judgment is entered in favor of Schering-Plough Corporation, Schering

Corporation, and Warrick Pharmaceuticals Corporation and against Class 2 and Class 3.

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Dated: November3007 NO} CART © \Q Nir

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